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Plaintiff, Pro Se

                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


                                                       :
GAVIN ROZZI                                            :
                                                       :
                              Plaintiff,               :
                                                       :
  v.                                                   :
                                                       :               Civil Action
ROBERT SELFORS, a/k/a “BOB HANSEN,”                    :
individually and in his capacity as President of       :
Happy Panda, Inc., CANA WITTENBERG                     :
SELFORS, individually and in her capacity as           :      No.: 3:23-cv-03363-RK-DEA
President of Simple Websites, Inc. and Vice            :
President of Happy Panda, Inc., HAPPY                  :
PANDA, INC., a North Carolina Corporation,             :
SIMPLE WEBSITES, INC., a North Carolina                :
Corporation, BRIER CREEK FELLOWSHIP,                   :
INC. a North Carolina Nonprofit Corporation,           :
JOHN DOES 1-100, ABC ENTITIES 1-100                    :
                                                       :
                              Defendants.              :
                                                       :
                                                       :


         PLAINTIFF’S REQUEST FOR CLERK’S ENTRY OF DEFAULT AS TO
          DEFENDANTS HAPPY PANDA, INC. AND SIMPLE WEBSITES, INC.

       Pursuant to Fed. R. Civ. P. 55(a) Plaintiff, Gavin Rozzi, appearing pro se, hereby

requests a Clerk’s certificate of entry of default. Within in an accompanying affidavit, I affirm

that the parties against whom the judgment is sought, HAPPY PANDA, INC. and SIMPLE

WEBSITES, INC. respectively:


                                                   1
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       1) is not an infant or incompetent person;

       2) is not in the military service;

       3) was properly served under Fed. R. Civ. P. 4 and proof of service having been

       filed with the court (See ECF No. 7);

       4) has defaulted in appearance in the above captioned action.



Dated this 1st Day of August 2023.



Respectfully submitted,




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GAVIN ROZZI
Plaintiff, Pro Se




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